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13
                              UNITED STATES DISTRICT COURT
14
                                   DISTRICT OF NEVADA
15
      ELIZABETH CANNON, an Individual,
                                                  CASE NO.: 2:18-cv-01599-APG-VCF
16
                       Plaintiff,
17
      vs.                                                  STIPULATION AND ORDER
                                                           EXTENDING TIME TO FILE
18
      ANDERSON BUSINESS ADVISORS,                         PROPOSED JOINT PRETRIAL
      LLC a Nevada limited liability company,                      ORDER
19
      DOES 1-50, inclusive and ROE
      CORPORATIONS 1-50, inclusive,                          (SECOND REQUEST)
20
                        Defendants.
21
             Plaintiff, ELIZABETH CANNON (“Plaintiff”) and Defendants ANDERSON
22
     BUSINESS ADVISORS, LLC (“Defendants”), by and through their counsel of record, hereby
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 1   stipulate to extend the deadline to file the proposed joint pretrial order (ECF 125), which was

 2   ordered by the Court on May 4, 2021. The parties hereby stipulate and agree as follow.

 3          1.      The parties proposed joint pretrial order is currently due on October 14, 2021.

 4          2.      The parties have agreed to attend a private mediation on this matter and extend

 5   the time for filing the Joint Pretrial Order for a period of sixty (60) days. The parties’ mediation

 6   with Honorable Nancy Saitta (Ret.) is scheduled for November 1, 2021.

 7          3.      Pursuant to this agreement between the parties, the proposed joint pretrial order

 8   will be filed on or before December 14, 2021.

 9          4.      The parties agree that good cause exists for the request for the extension of the

10   deadline to file the proposed joint pretrial order for the above-specified reasons.

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                                                 Page 2 of 3
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 1           5.     The parties agree that the requested extension is warranted under the current

 2   circumstances and will not result in an undue or significant delay in the administration of this

 3   case.

 4   Dated this 15th day of October, 2021              Dated this 15th day of October, 2021

 5    HKM EMPLOYMENT ATTORNEYS LLP                    MESSNER REEVES

 6
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                                               ORDER
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                                               IT IS SO ORDERED:
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                                               UNITED STATES MAGISTRATE JUDGE
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                                               DATED:        10-18-2021
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